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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                           No. 1:16-cr-00370 (CM)
          v.
                                           ECF Case
MATTHEW CONNOLLY and
GAVIN CAMPBELL BLACK,
                                           ORAL ARGUMENT REQUESTED
                Defendants.




 DEFENDANT GAVIN CAMPBELL BLACK’S INDIVIDUAL MOTIONS IN LIMINE




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              Defendant Gavin Campbell Black respectfully submits this memorandum of law in

support of his individual motions in limine to: (1) preclude the Government from offering

evidence concerning compelled statements that he made to Deutsche Bank’s counsel; and

(2) permit him to introduce evidence demonstrating that he waived extradition.1

                                                               PRELIMINARY STATEMENT

              The Government should be precluded from introducing evidence concerning compelled

statements that Mr. Black made to Deutsche Bank’s counsel.                             Deutsche Bank’s counsel

interviewed Mr. Black on multiple occasions under threat of termination. Deutsche Bank’s

written compliance policies mandated that company employees cooperate with internal

investigations conducted by the Legal Department, and Mr. Black believed that his employment

with Deutsche Bank would have been terminated had he not agreed to participate in these

interviews. Statements obtained under threat of termination are involuntary under the Fifth

Amendment. Here, the Government is responsible for Deutsche Bank’s conduct in compelling

Mr. Black’s statements based on its corporate cooperation policies and its statements made

during dozens of communications with Deutsche Bank’s counsel in which it injected itself into

counsel’s investigatory process.

              The Government has federalized corporate internal investigations through its corporate

cooperation policies. Pursuant to these policies, a corporation under investigation is not eligible

for cooperation credit—which may be the only means to avoid indictment—unless it discloses

all relevant facts pertaining to the Government’s allegations of misconduct. These policies have

created an expectation that company counsel conducting an internal investigation will work at

the behest of the Government and put together a case for the Government to use in its
                                                            
1
  These motions in limine pertain only to Mr. Black and not to co-defendant Matthew Connolly.
Messrs. Black and Connolly jointly filed a memorandum of law in support of the motions in
limine that pertain to issues relevant to both defendants.
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prosecution of the corporation’s employees. This work typically includes company counsel

using its leverage over company employees to compel them to submit for interviews in a

privileged setting and then turning over the statements made during these involuntary interviews

to the Government.

       This is exactly what happened in this case. Upon being alerted to the Government’s

investigation into Deutsche Bank’s LIBOR-related practices, Deutsche Bank commenced an

internal investigation led by outside counsel who pledged cooperation to the Government and

agreed to coordinate its internal investigation with the Government. Over a period of at least

several years, Deutsche Bank’s counsel was in frequent contact with the Government concerning

the status of its internal investigation and received regular direction from the Government,

including in connection with interviews of Deutsche Bank employees. To satisfy its disclosure

obligations under the Government’s corporate cooperation policies, Deutsche Bank’s counsel

interviewed numerous company employees, including Mr. Black, and disclosed the statements

made during many of these interviews to the Government. As a result of Deutsche Bank’s

cooperation, the Government resolved potential charges against Deutsche Bank through a

Deferred Prosecution Agreement (“DPA”) that credited Deutsche Bank with “disclosing much of

the misconduct” underlying the charges in this case.

       Under such circumstances, the Government is responsible for Deutsche Bank’s conduct

in compelling Mr. Black’s interview statements, and these statements are therefore inadmissible

against Mr. Black at his criminal trial. Accordingly, the Court should suppress any evidence

pertaining to compelled statements that Mr. Black made to Deutsche Bank’s counsel.

       In addition, Mr. Black should be permitted to admit evidence that he waived his rights

under the extradition treaty between the United States and the United Kingdom and voluntarily




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surrendered to United States authorities. Mr. Black’s decision not to challenge extradition

demonstrates his consciousness of innocence, and such evidence is relevant and probative.

                                 FACTUAL BACKGROUND

       A.      The Government’s Corporate Cooperation Policies

       The Government’s Corporate Fraud Task Force has issued public guidelines concerning

the prosecution of corporate defendants called “Principles of Federal Prosecution of Business

Organizations,” which are binding on all federal prosecutors. The version of these guidelines in

effect during the investigation of this case was issued on August 28, 2008 by then-Deputy

Attorney General Mark Filip (the “Filip Memorandum”). (See Declaration of Seth L. Levine in

Support of Mr. Black’s Individual Motions in Limine (“Levine Decl.”) Ex. A.)            The Filip

Memorandum, as well as the versions of the guidelines that preceded it, required corporations

under investigation to agree, in effect, to serve as deputy investigators for the Government in

order to obtain cooperation credit and avoid indictment. See Lisa Kern Griffin, Compelled

Cooperation and the New Corporate Criminal Procedure, 82 N.Y.U. L. Rev. 311, 367 (2007)

(“The threat of [ruinous indictment] brings significant pressure to bear on corporations, and that

threat ‘provides a significant nexus between a private entity’s employment decision at the

government’s behest and the government itself.’”) (cited in United States v. Stein, 541 F.3d 130,

151 (2d Cir. 2008)).

       The Filip Memorandum conditions a corporation’s eligibility for cooperation credit on its

willingness to timely and voluntarily disclose all relevant facts concerning the alleged

misconduct under investigation. (See Levine Decl. Ex. A §§ 9-28.700, 9-28.720(a) (stating that a

cooperation’s failure to provide relevant facts “means that the corporation will not be entitled to

mitigating credit for cooperation”). While the Filip Memorandum prohibits prosecutors from

requesting waivers of non-factual attorney-client communications or work product (id.


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§ 9-28.710), it makes clear that a corporation must disclose relevant factual information

regardless of whether such information was learned through a privileged communication (id. § 9-

28.720). The Filip Memorandum states:

       [T]he government’s key measure of cooperation must remain the same as it does
       for an individual: has the party timely disclosed the relevant facts about the
       putative misconduct? That is the operative question in assigning cooperation
       credit for the disclosure of information—not whether the corporation discloses
       attorney-client or work product materials. Accordingly, a corporation should
       receive the same credit for disclosing facts contained in materials that are not
       protected by the attorney-client privilege or attorney work product as it would for
       disclosing identical facts contained in materials that are so protected.

(Id. § 9-28.720(a) (emphasis in original).)

       The Filip Memorandum contemplates that corporations will not be able to meet the

cooperation eligibility standard without interviewing employees with knowledge of the issues

and then disclosing statements made during those interviews to the Government. (Id.) As the

Filip Memorandum recognizes, corporations typically learn at least some of the relevant facts

through interviews conducted by counsel during an internal investigation. (Id. § 9-28.720 n.3.)

It further makes clear that “[t]o earn [cooperation] credit,” the corporation must provide, and

prosecutors may request, “relevant factual information acquired through those interviews.” (Id.)

       B.      The Government Obtained Eligibility for Cooperation Credit Under the Filip
               Memorandum by Disclosing Privileged Statements Made by Mr. Black and
               Other Employees

       Upon being alerted that the Government and other regulatory authorities were conducting

an investigation into Deutsche Bank’s LIBOR submission practices, Deutsche Bank

“commenced an internal investigation.” (Levine Decl. Ex. B ¶ 4(a).) Deutsche Bank’s internal

investigation was conducted by its outside counsel, Paul, Weiss, Rifkind, Wharton & Garrison

LLP (“Paul Weiss”).        Pursuant to standard practice under the Filip Memorandum, the

tremendous pressure placed on Deutsche Bank to avoid indictment led Deutsche Bank to



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cooperate and act on behalf of the prosecutors in conducting its internal investigation. The DPA

credited Deutsche Bank with “disclosing much of the misconduct described in the [DPA’s]

Information and Statement of Facts,” which are premised on the same theory as the Indictment in

this case. (Id. ¶ 4(a), SOF ¶¶ 16-35.)

              As is typical in corporate cooperation cases, Paul Weiss learned many of the “relevant

facts” that it later disclosed to the Government to gain eligibility for cooperation credit through

privileged interviews with Deutsche Bank employees, including Mr. Black.                                    Based on

FBI Form 302s produced by the Government, as well as other Government representations,

Mr. Black believes that the Government intends to introduce statements that he purportedly made

to Paul Weiss during interviews on one or both of the following dates: August 25, 2011 and

June 19, 2012 (the “Interviews”).2 At the time of the Interviews, Mr. Black was still employed at

Deutsche Bank and was not represented by counsel. (Declaration of Gavin Campbell Black

(“Black Decl.”) ¶ 2.) Paul Weiss later waived privilege and disclosed Mr. Black’s statements

during the Interviews to the Government.

              The Government and Paul Weiss were in frequent contact during the course of

Paul Weiss’s internal investigation.                             (See, e.g., Levine Decl. Ex. B ¶ 4(a) (“Deutsche Bank

communicated with and updated the Department with increasing frequency as the investigation

progressed.”).) As reflected in handwritten notes taken by the Government on July 11, 2011—

prior to the Interviews—Deutsche Bank advised the Government of its intent to cooperate with

the Government’s investigation.                                (Levine Decl. Ex. C at DOJ-A-0010359 (“co. intends to

coop[erate] fully”).)                         The Government also identified “USD” as one of its priorities and

                                                            
2
  Paul Weiss also interviewed Mr. Black on other occasions as part of the internal investigation.
While Mr. Black does not believe that the Government intends to offer evidence concerning
these other interviews, the arguments contained herein also apply to statements at Mr. Black’s
other interviews with Paul Weiss.


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instructed Paul Weiss to “[l]et us know about the process of internal investig[ation]” and to “give

us heads up about actions.” (Id. at DOJ-A-0010360.)

       Consistent with the Government’s direction, the Government and Paul Weiss had

periodic calls and meetings during which they discussed the status of the internal investigation.

(See, e.g., Levine Decl. Ex. B ¶ 4(a) (“Deutsche Bank communicated with and updated the

Department with increasing frequency as the investigation progressed.”.) While Mr. Black does

not believe that he has a complete record of the Government’s conversations with Paul Weiss,

the materials that he has received reflect that Paul Weiss’s interviews of Deutsche Bank’s

employees were a frequent topic of discussion. During these communications, the Government

also provided guidance and direction to Paul Weiss concerning the internal investigation,

including Paul Weiss’s interviews of Deutsche Bank employees. For example, the Government

advised the Financial Conduct Authority (“FCA”) that it spoke with Paul Weiss in advance of

one of its internal interviews, and that the Paul Weiss attorney leading the interview gave the

Government his “word that he will approach this interview as if he were a prosecutor,” to which

the FCA responded that it appreciated the Government’s “Machiavellian approach with asking

Paul Weiss to conduct the interview.” (Levine Decl. Ex. D at DOJ-DB-KAST-0003527.) In a

follow-up call, the FCA advised the Government that it also spoke to this Paul Weiss attorney

and directed him to provide an interview plan and a list of documents that would be used prior to

the interview. (Levine Decl. Ex. E.) In response, the Government advised the FCA that it

believed that the Paul Weiss attorney would be able to meet the conditions and that it “really

appreciate[d] [the FCA] working with us on this.” (Id.) In addition, Paul Weiss requested the

Government’s and the FCA’s permission prior to scheduling follow-up interviews of three

employees, including Mr. Black (see Levine Decl. Ex. F at DOJ-DB-KAST-0003459), and the




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Government told Paul Weiss that it “did not have an issue with those follow up interviews.” (See

Levine Decl. Ex. G at DOJ-DB-KAST-0003472.)

       C.       The Refusal to Meet with Paul Weiss Was a Terminable Offense at Deutsche
                Bank

       As with most corporations, Deutsche Bank’s written compliance policies required all

company employees to cooperate with internal investigations conducted at the behest of the

Legal Department or face termination. Specifically, Deutsche Bank adopted Global Compliance

Core Principles that “set forth . . . minimum requirements for dealing with compliance-related

issues.”    (Levine Decl. Ex. H at DOJ-SFO-DB-00002678 (emphasis added).)               One such

requirement imposed a mandatory cooperation requirement on company employees. The Core

Principles provided that employees “must fully cooperate with Compliance and other appropriate

Deutsche Bank departments (e.g., Legal, Internal Audit, etc.) handling internal and external

investigations and other reviews involving Deutsche Bank, its customers and other related

company activities.” (Id. at DOJ-SFO-DB-00002682 (emphasis added).) Consistent with the

Core Principles, Mr. Black did not believe that he had any choice but to agree to meet with the

Paul Weiss lawyers and answer their questions. (Black Decl. ¶ 3.) He also believed that, had he

refused to do so, it would have resulted in his termination from Deutsche Bank. (Id.)

       D.       Mr. Black

       At all relevant times, Mr. Black was a citizen of and resided in the United Kingdom. The

Government could not have secured his presence in the United States without complying with

the procedures required by the extradition treaty between the United States and the United

Kingdom.

       Mr. Black, however, waived any rights that he had in connection with this treaty,

including the right to challenge extradition, and agreed to voluntarily surrender to the United



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     States authorities to answer the charges set forth in the Superseding Indictment (“Indictment”).

     [Dkt. No. 27.] Mr. Black promptly agreed to surrender despite receiving assurances from United

     Kingdom authorities that he would not be subject to criminal prosecution in his home country

     based on the conduct alleged in the Indictment. [Id. at 1.] He also waived his right to hearings

     in the United Kingdom to challenge his extradition, despite knowing that he could not be

     compelled to surrender to United States authorities until ordered by a United Kingdom court.

     [Id. at 1-2.]

                                               ARGUMENT

I.           THE GOVERNMENT SHOULD BE PRECLUDED FROM USING MR. BLACK’S
             INVOLUNTARY STATEMENTS TO DEUTSCHE BANK’S COUNSEL

             The Government should be precluded from introducing evidence concerning Mr. Black’s

     statements to Deutsche Bank’s counsel at the Interviews because they were coerced by conduct

     that is fairly attributable to the Government.        Based on the Filip Memorandum and the

     Government’s input into Paul Weiss’s internal investigation, the Government intervened in and

     guided Paul Weiss’s decisionmaking and thus bears constitutional responsibility for Paul Weiss’s

     conduct in compelling Mr. Black to make involuntary statements during the Interviews.

             In Garrity v. New Jersey, 385 U.S. 493 (1967), the Supreme Court held that statements

     obtained from police officers under threat of termination of employment are involuntary and

     therefore inadmissible against them in a criminal trial. The Court found that it is “the antithesis

     of free choice” to present an individual with the “option to lose their means of livelihood or to

     pay the penalty of self-incrimination.” Id. at 497.

             While Garrity involved the conduct of a governmental employer, the Garrity rule also

     applies to private employers where its actions are “fairly attributable to the government.” United

     States v. Stein, 541 F.3d 130, 152 n.11 (2d Cir. 2008) (“Stein II”). Private conduct meets this



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standard when “there is a sufficiently close nexus between the [government] and the challenged

action.” Blum v. Yaretsky, 457 U.S. 991, 1004 (1982); Stein II, 541 F.3d at 146. Situations in

which the close nexus requirement is met include:

       [W]hen the state exercises coercive power, is entwined in the management or
       control of the private actor, or provides the private actor with significant
       encouragement, either overt or covert, or when the private actor operates as a
       willful participant in joint activity with the State or its agents . . . or is entwined
       with governmental policies.

Stein II, 541 F.3d at 147 (emphasis in original) (quoting Flagg v. Yonkers Sav. & Loan Ass’n,

396 F.3d 178, 187 (2d Cir. 2005)).

       A.      MR. BLACK’S STATEMENTS TO PAUL WEISS WERE INVOLUNTARY

       Mr. Black’s statements to Paul Weiss at the Interviews were involuntary because he made

them under threat of termination of employment. As counsel for Deutsche Bank, Paul Weiss

conducted the Interviews of Mr. Black while he was still a Deutsche Bank employee. Under

Deutsche Bank policy, employees were required to cooperate with investigations initiated by

Deutsche Bank’s Legal Department or face termination of employment. (Levine Decl. Ex. H

at DOJ-SFO-DB-00002680, DOJ-SFO-DB-00002682.) Consistent with this policy, Mr. Black

did not believe that he had any choice but to agree to meet with the Paul Weiss lawyers and

answer their questions. (Black Decl. ¶ 3.) He also believed that, had he refused to do so, it

would have resulted in his termination from Deutsche Bank. (Id.) Accordingly, his statements

to Paul Weiss were involuntary.

       B.      THE CONDUCT OF DEUTSCHE BANK AND ITS COUNSEL IN COMPELLING
               MR. BLACK TO SUBMIT TO THE INTERVIEWS IS FAIRLY ATTRIBUTABLE TO THE
               GOVERNMENT

       Based on the Filip Memorandum and the Government’s coordination with Deutsche

Bank concerning its cooperation, Deutsche Bank’s conduct in compelling Mr. Black to make

statements to its counsel during two interviews is fairly attributable to the Government. In fact,


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both this Court and the Second Circuit have previously held that the pressure stemming from the

Government’s corporate cooperation policies was sufficient to render the Government

responsible for the conduct of a private employer.

               1.     The Government Is Responsible for the Acts of a Private Entity
                      Where Its Policies and Actions Encourage the Private Entity to
                      Take a Specific Course of Conduct

       In United States v. Stein, 440 F. Supp. 2d 315 (S.D.N.Y. 2006) (“Stein I”), this Court held

that the Government was responsible for the pressure that a private employer placed on its

employees to agree to submit to proffers with the Government based on facts similar to those

present in this case. In that case, the Government investigated KPMG for its role in allegedly

abusive tax shelters. Id. at 318. To obtain cooperation credit, KPMG yielded to Government

encouragement to “press . . . employees to cooperate” with the Government, including by

agreeing to proffer. Id. at 318. The Government’s “encouragement” came in two forms: (1) a

version of the Principles of Federal Prosecution of Business Organizations that preceded the

Filip Memorandum (“Thompson Memorandum”) and (2) statements that the prosecutors made to

KPMG’s counsel. Id. at 319-21.

       The Thompson Memorandum provided, in substance, that “the failure of a business

organization facing possible indictment to induce its personnel to submit to interviews by the

government and to disclose whatever they know may be a factor weighing in favor of indictment

of the entity.” Id. at 320. Specifically, the Thompson Memorandum stated:

       In gauging the extent of the corporation’s cooperation [for purposes of
       determining whether it should be indicted], the prosecutor may consider the
       corporation’s willingness to identify the culprits within the corporation, including
       senior executives, to make witnesses available, to disclose the complete results of
       its internal investigation, and to waive attorney-client and work-product
       privileges.




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Id. at 319 (emphasis and alteration in original) (quoting the Thompson Memorandum). During

meetings, the Government made clear to KPMG counsel that it would consider the Thompson

Memorandum in deciding whether to indict, pressured KPMG to cut off legal fees to

non-cooperative employees and reported to KPMG the identities of employees who refused to

make statements to the Government. Id. at 336-37.

       Based on the Government’s encouragement, the Court concluded that “the government

[wa]s responsible for the pressure that KPMG put on its employees” and suppressed a number of

the proffers. Id. at 319. As the Court explained:

       In this case, the pressure that was exerted on the Moving Defendants was a
       product of intentional government action. The government brandished a big
       stick—it threatened to indict KPMG. And it held out a very large carrot. It
       offered KPMG the hope of avoiding the fate of Arthur Andersen [which went out-
       of-business following indictment] if KPMG could deliver to the USAO
       employees who would talk, notwithstanding their constitutional right to remain
       silent, and strip those employees of economic means of defending themselves. In
       two instances, that pressure resulted in statements that otherwise would not have
       been made . . . . The coerced statements and their fruits must be suppressed.

Id. at 337-38.

       While the Government appealed the district court’s suppression of the proffer statements,

this appeal was mooted when the Second Circuit affirmed this Court’s subsequent dismissal of

the indictment against nearly all of the defendants on the ground that the Government’s

encouragement caused KPMG to cutoff legal fees to these defendants in violation of their Sixth

Amendment right to counsel. See Stein II, 541 F.3d at 135-36 & n.2. As with the suppression of

the proffer statements, the Second Circuit found that KPMG’s conduct in cutting off fees to the

defendants was fairly attributable to the Government based on the Thompson Memorandum and

the Government’s statements to KPMG counsel. Id. at 143-44. According to the court:

       [T]he government forced KPMG to adopt its constricted Fees Policy. The
       Thompson Memorandum itself—which prosecutors stated would be considered in
       deciding whether to indict KPMG—emphasizes that cooperation will be assessed


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       in part based upon whether, in advancing counsel fees, “the corporation appears to
       be protecting its culpable employees and agents.” Since defense counsel’s
       objective in a criminal investigation will virtually always be to protect the client,
       KPMG’s risk was that fees for defense counsel would be advanced to someone
       the government considered culpable. So the only safe course was to allow the
       government to become (in effect) paymaster.

Id. at 148; see also id. at 150 (“KPMG was not in a position to consider coolly the risk of

indictment, weigh the potential significance of the other enumerated factors in the Thompson

Memorandum, and decide for itself how to proceed.”).

               2.     The Government Is Responsible for Deutsche Bank’s Compelled
                      Interviews of Mr. Black

       For reasons similar to those relied on in the Stein cases, the Government is responsible

for Deutsche Bank’s compelled Interviews of Mr. Black. Based on the Filip Memorandum and

the Government’s repeated conversations with Paul Weiss, the Government significantly

encouraged and became entwined with Paul Weiss’s decisionmaking in connection with its

interviews of Deutsche Bank employees, including Mr. Black.

       The Filip Memorandum induced Paul Weiss’s interviews of Mr. Black and other

Deutsche Bank employees because Deutsche Bank would not have been able to meet the

eligibility threshold for cooperation credit without these interviews.           Under the Filip

Memorandum, a corporation is not eligible for cooperation credit absent disclosure of the

“relevant facts” pertaining to the Government’s allegations of misconduct. (Levine Decl. Ex. A

§ 9-28.720.)   The Filip Memorandum also documents the Government’s expectation that

cooperating companies will conduct employee interviews, as is “typically” done during internal

investigations, and disclose facts learned from these interviews, except in the unlikely event that

identical information is obtained entirely from other sources. (Id. § 9-28.720 n.3.)

       Moreover, the Government’s encouragement of the Interviews is evident from the fact

that the Government did not interview Mr. Black until after the Interviews occurred and it


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received interview summaries from Paul Weiss concerning Mr. Black and other Deutsche Bank

employees. As several prominent practitioners have noted:

       [T]he government often will defer its interviews of the witnesses until after the
       corporate internal investigators can conduct their own interviews. Given the
       employees’ fear of termination by their employer, the government knows that the
       corporation can be more effective in persuading its employees to speak than it
       could be, and the government knows all to [sic] well that it can then use its
       leverage over the company to compel the company to tell it what the employees
       say, even if that requires the waiver of the attorney-client privileged or work
       product doctrine.

Abbe David Lowell and Christopher D. Man, Federalizing Corporate Internal Investigations

and the Erosion of Employees’ Fifth Amendment Rights, 40 Geo. L.J. Ann Rev. Crim. Proc. III at

6 n.75 (2011). Thus, pursuant to the Filip Memorandum, the Government “‘did more than adopt

a passive position toward the underlying private conduct,’” i.e., Deutsche Bank’s interviews of

its employees; rather, “‘it made plain not only its strong preference for [the private conduct], but

also its desire to share the fruits of such intrusions.’” Stein II, 541 F.3d at 147 (alteration in

original) (quoting Skinner v. Ry. Labor Executives’ Ass’n, 489 U.S. 602, 615 (1989)).

       The conclusion that the Deutsche Bank compelled Interviews of Mr. Black should be

imputed to the Government is bolstered by the Government’s interactions with Deutsche Bank

during the internal investigation. The Government took an active role in Paul Weiss’s internal

investigation from its inception. Prior to the Interviews, Paul Weiss informed the Government of

Deutsche Bank’s intention to cooperate, and the Government in turn directed Paul Weiss to

apprise it of the actions it planned to take in the internal investigations. (Levine Decl. Ex. C

at DOJ-A-0010359-60.) Based on this direction, Paul Weiss’s interviews were a frequent topic

of discussion between the Government and Paul Weiss. This included Paul Weiss asking for and

receiving the Government’s permission prior to scheduling follow-up interviews with Mr. Black

and other Deutsche Bank employees in 2014. (Levine Decl. Exs. F at DOJ-DB-KAST-0003459,



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G at DOJ-DB-KAST-0003472.) In addition, Paul Weiss not only reported what occurred during

its interviews, but the Government also gave Paul Weiss direction concerning how to conduct its

interviews. This direction included the Government, on at least one occasion, insisting that one

of the Paul Weiss attorneys give the Government his “word that he will approach this interview

as if he were a prosecutor.” (Levine Decl. Ex. D at DOJ-DB-KAST-0003527.)

        Based on the Filip Memorandum and the Government’s statements to Paul Weiss, this

case falls squarely within the holdings in the Stein cases. It similarly is distinguishable from

other Second Circuit decisions that did not impute a private entity’s compulsion of employee

interviews to the Government. See Gilman v. Marsh & McLennan Cos., 826 F.3d 69, 76-77 (2d

Cir. 2016); D.L. Cromwell Invs., Inc. v. NASD Regulation, Inc., 279 F.3d 155, 163 (2d Cir.

2002); United States v. Solomon, 509 F.2d 863, 868-71 (1975). In those cases, the Government

did not bear responsibility for the company’s actions because, unlike here, there was no evidence

that the prosecution authority “‘forced’ [the entity] to demand interviews, ‘intervened’ in [its]

decisionmaking, ‘steered’ [it] to request interviews, or ‘supervised’ the interview requests.”

Gilman, 826 F.3d at 76; see also Stein II, 541 F.3d at 150 (distinguishing D.L. Cromwell and

Solomon based on the fact that the request for interviews was not generated by governmental

persuasion or collusion). Conversely, the Government, through its policies and statements,

significantly encouraged Paul Weiss to interview Mr. Black and other Deutsche Bank employees

and involved itself in Paul Weiss’s activities in such a manner that the entire internal

investigation became entwined with the Government’s corporate cooperation policies.

        Accordingly, Deutsche Bank’s compulsion of Mr. Black’s Interviews is fairly attributable

to the Government, and the Court should suppress Mr. Black’s statements to Paul Weiss at the

Interviews at trial.




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             C.      ALTERNATIVELY, THE COURT SHOULD HOLD AN EVIDENTIARY HEARING

             Should the Court find that the record is not sufficiently developed to conclude that

      Deutsche Bank’s conduct is fairly attributable to the Government, Mr. Black respectfully

      requests that the Court hold an evidentiary hearing to further develop the factual record. See,

      e.g., United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992) (stating that an evidentiary hearing

      “ordinarily is required if the moving papers are sufficiently definite, specific, detailed, and

      nonconjectural to enable the court to conclude that contested issues of fact [exist]”) (internal

      quotation marks omitted).

II.          MR. BLACK SHOULD BE PERMITTED TO INTRODUCE EVIDENCE
             DEMONSTRATING THAT HE WAIVED HIS EXTRADITION RIGHTS

             Mr. Black should also be permitted to admit evidence that he waived his rights under the

      extradition treaty between the United States and the United Kingdom and voluntarily surrendered

      to United States authorities. Mr. Black’s decision not to challenge extradition demonstrates his

      consciousness of innocence and is relevant under Federal Rule of Evidence 401.

             “[T]he definition of relevance under Fed. R. Evid. 401 is very broad,” United States v.

      Certified Envtl. Servs., Inc., 753 F.3d 72, 90 (2d Cir. 2012), and “Rule 401 prescribes a ‘very low

      standard’” for admissibility, United States v. Litvak, 808 F.3d 160, 180 (2d Cir. 2015) (quoting

      United States v. White, 692 F.3d 235, 246 (2d Cir. 2012)). The decision of a criminal defendant

      to waive extradition and voluntarily appear in a foreign criminal court is relevant to the

      defendant’s state of mind that he was innocent and had done nothing wrong. While such a

      decision by Mr. Black in this case may not be dispositive, that is not the standard. The Second

      Circuit has advised:    “Let the accused’s whole conduct come in; and whether it tells for

      consciousness of guilt or for consciousness of innocence, let us take it for what it is worth . . . .

      Let us not deprive an innocent person, false accused, of the inference which common sense



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draws from a consciousness of innocence and its natural manifestations.” United States v.

Biaggi, 909 F.2d 662, 691 (2d Cir. 1990) (quoting 2 Wigmore on Evidence § 293, at 232 (J.

Chadbourn rev. ed. 1979)). The jury is entitled to draw an inference that Mr. Black’s waiver

demonstrates his consciousness of innocence, and “[t]hat the jury might not draw the inference

urged by the defendant does not strip the evidence of probative force.” Biaggi, 909 F.2d at 690-

91; see also United States v. Rajaratnam, No. 13-cr-211, Dkt. No. 94, at 59-65 (S.D.N.Y.

May 30, 2014) (finding the defendant’s decision to return to the United States from Brazil to face

securities fraud charges “relevant and admissible” as “consciousness of innocence evidence”).

Such evidence was also found admissible in United States v. Allen, where the fact that the

defendant “waived extradition and voluntarily appeared to answer the charges” was deemed

“probative of consciousness of innocence.” (Levine Decl. Ex. I at 1159:3-1161:13.)

       Mr. Black’s decision to voluntarily appear in this Court to defend himself against the

instant charges—rather than significantly delay these proceedings or potentially secure formal

protection from his home country against extradition—suggests a consciousness of innocence

and an eagerness to clear his name. Such evidence therefore meets the low threshold set by the

Federal Rules of Evidence and should be ruled admissible.




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                                          CONCLUSION

       For the foregoing reasons, the Court should preclude the Government from offering

evidence concerning compelled statements that Mr. Black made to Deutsche Bank’s counsel,

permit Mr. Black to introduce evidence demonstrating that he waived extradition and grant any

and all further relief as may be just and proper.

Dated: New York, New York
       April 23, 2018

                                                    Respectfully Submitted:

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